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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)

V. ) Case No. 1:21-cr-670 (CIN)
)

STEPHEN kK. BANNON )

DEFENDANT'S ENTRY OF A PLEA OF
NOT GUILTY AND WAIVER OF ARRAIGNMENT

I hereby acknowledge that I am the defendant named above and J have
received a copy of the indictment in this case. I understand that I have the right to
appear personally at my arraignment pursuant to Rule 43(a)(1) of the Federal Rules
of Criminal Procedure, and consistent with Rule 43(b)(2) of the Federal Rules of
Criminal Procedure and that I have the right to have the indictment read to me in
open court pursuant to Rule 10 of the Federal Rules of Criminal Procedure.

I have discussed the charges in the indictment and the waiver of appearance
at arraignment with my attorneys and I fully understand the nature of the offenses
charged and my right to appear at arraignment. Understanding my rights, pursuant
to Rule 10(b) of the Federal Rules of Criminal Procedure, I do hereby freely and
voluntarily waive my right to an arraignment on the indictment and my right to

have it read to me in open court.
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As evidenced by my signature below, I do hereby waive formal arraignment

and enter my plea of NOT GUILTY to the indictment this 17" day of November,

2021 and ask the Court to accept this plea and waiver pursuant to Rule 10(b)(3),

obviating the need to conduct an arraignment during the virtual status conference

scheduled for November 18, 2021, which I will attend with my attorneys.

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Stephen K. Bannon
“Ba

4 Evan Corcoran i Bar 440027)

Counsel for Defendant Bannon

CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the foregoing on all counsel of

record by filing the same through this Court’s ECF system on this 17" day of

November, 2021.

 

M. Evan Corcoran (Dc C. Bar ar 440027)
SILVERMAN THOMPSON
SLUTKIN WHITE

201 N Charles Street, 25th Floor
Baltimore, MD 21201

(410) 385-2225

Fax: (410) 547-2432
ecorcoran@silvermanthompsen.com
